
Reese, J.
delivered the opinion of the court.
The defendant was indicted for a bet or wager upon the result of the late Presidential election. The indictment *45charged that defendant and the other party bet “goods, wares and merchandize, being valuable things;” the verdict was that he was guilty of “betting a suit of clothes.” The judgment was arrested by the Circuit Court, and the State has appealed in error to this court. It has been justly said here on behalf of the State that this court and other courts, in modern times, in cases of misdemeanor, have considerably relaxed the rigid adherence to exact and extreme technical accuracy and precision, in the charge and in the proof which marked the earlier administration of the criminal laws. But a just and reasonable certainty in the charge and in the proof has not been, and ought not to be, abolished. The object of an indictment or declaration is to notify the defendant of the substantial charge or claim against him; and this object is not attained unless the allegations point out the specific nature of the charge, or claim, in terms of reasonable certainty. A declaration, in trover, that the defendant converted to his own use “goods, wares and merchandize,” which belonged to the plaintiff, would scarcely be considered a good and sufficient charge by any one; less certainty should not be required in an indictment surely. Here the charge is that the defendant bet and wagered “goods, wares and merchandize” — surely such a charge, in an indictment, does not contain requisite certainty. The judgment of the Circuit Court is affirmed.
